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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In re:                                             §
                                                   §              Case No. 19-32825
HL BUILDERS, LLC; aka                              §
CD HOMES LLC                                       §              Chapter 11
                                                   §
               DEBTOR.                             §

                                   NOTICE OF HEARING

         PLEASE TAKE NOTICE that an evidentiary hearing regarding the Involuntary Petition

Against Non-Individual [ECF No. 1] filed by Houtex Builders, LLC; 2203 Looscan Lane, LLC; and

415 Shadywood, LLC (collectively, the “Petitioners”) will be held on Tuesday, July 16, 2019 at 8:30

a.m. (CST) at the United States Bankruptcy Court, 515 Rusk Street , Courtroom #401, Houston,

Texas 77002.

Dated: June 20, 2019                                   Respectfully submitted,

                                                       DIAMOND McCARTHY LLP

                                                       /s/ Charles M. Rubio
                                                       Charles M. Rubio
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                                                       Counsel to the Petitioners
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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 20, 2019, a true and correct copy of the foregoing notice was
served by electronic transmission to all parties registered to receive notice through the CM/ECF
system.

                                                     /s/ Charles Rubio
                                                     Charles M. Rubio




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